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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      ABILENE DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
                                                 §    1:14-CR-00067-P-BL
v.                                               §
                                                 §
DAVID AARON BERRY (4)                            §
                                                 §
                                                 §


                     ORDER ACCEPTING REPORT AND RECOMMENDATION
                        OF THE UNITED STATES MAGISTRATE JUDGE
                              CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a

Plea of Guilty, the Consent ofthe defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge, and no objections thereto having been filed within fourteen

days of service in accordance with 28 U.S.C. § 636(b)(1 ), the undersigned District Judge is of the

opinion that the Report and Recommendation of the Magistrate Judge concerning the Plea of Guilty is

correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

 Defendant is hereby adjudged guilty. Sentence will be imposed in accordance with the Court's

 scheduling order.

         SO ORDERED.

         Signed this gth day of January, 2015.




                                                        UNITED STATES DISTRICT JUDGE
